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                                                  UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF INDIANA
                                                         HAMMOND DIVISION


IN RE:                                                                                   )
 HARGROVE, LESLIE
                                                                                         ) CASE NO. 17-20810                 -JPK
                                                                     Debtor(s)           ) Chapter 7

                                      MOTION FOR TURNOVER ORDER
         David R. DuBois, Trustee, respectfully represents and shows the Court as follows:

      1. The Debtor(s) filed a Petition for Relief under Chapter 7 of the United States Bankruptcy Code and your
Movant was appointed as Trustee on 03/30/17.

       2. Movant has requested that the Debtor(s) turnover certain information: documentation/receipts showing
how the $5,900.00 in cash withdrawals from the RushCard accounting ending 6669 between 3/1/17 through 3/27/17
was spent.

        3. Movant has requested that the Debtor(s) turnover additional information: a copy of the Court Order for
child support and the name and address of who the support is paid.

        WHEREFORE, Trustee David R. DuBois prays this Court for an Order directing the Debtor(s) to turnover
to the Trustee the foregoing information and/or property when the Debtor(s) files and/or receives same and for all
other just and proper relief as the Court may allow.

         Dated at Portage, IN on June 8, 2017.
                                                                                         /s/ David R. DuBois
                                                                                         David R. DuBois, Trustee and
                                                                                           Trustee’s attorney, #4609-64
                                                                                         6226 Central Avenue, P.O. Box 14
                                                                                         Portage, IN 46368-0014
                                                                                         Telephone: (219) 762-5574

                                                            CERTIFICATE OF SERVICE
          I certify that on June 8, 2017service of a true and complete copy of the foregoing instrument was made on the following persons by
electronic filing as shown on the Notice of Electronic Filing or by depositing the same in the United States Mail in a properly addressed and stamped
envelope:
 United States Trustee, 100 E. Wayne, Street, Ste. 555, South Bend, IN 46601
 Harry Zembillas, 301 S. Main St., , Crown Point, IN 46307
 HARGROVE, LESLIE, 4720 RAILROAD AVE. APT. 602, , EAST CHICAGO, IN 46312

                                                                                         /s/ David R. DuBois
                                                                                         David R. DuBois, Trustee
